






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00896-CV






Valerie Thomas Bahar, M.D.; Valerie Thomas Bahar, M.D., P.A.;
Shalanda&nbsp;D.&nbsp;Moore,&nbsp;J.D.; and Joseph R. Willie, II, D.D.S., J.D., Appellants


v.


Lyon Financial Services, Inc., A Minnesota Corporation d/b/a US Bancorp Manifest
Funding Services; and Riecke Baumann, Receiver and Master in Chancery, Appellees






FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY

NO. C-1-CV-11-012239, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellants have filed an unopposed motion to abate this appeal pending settlement
negotiations.  The motion is granted and the appeal is abated until February 18, 2013.  The parties
shall submit either a motion to reinstate or a joint status report concerning the status of settlement
negotiations no later than February 18, 2013.  Upon reinstatement, the appellants' brief will be due
not later than the thirtieth (30th) day following reinstatement.


						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Abated

Filed:   December 19, 2012


